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                          IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE

  SIGHT SCIENCES, INC.,                           )
                                                  )
                  Plaintiff,                      )
                                                  )
     v.                                           ) C.A. No. 21-1317-JLH-SRF
                                                  )
  IVANTIS, INC., ALCON RESEARCH                   )
  LLC, ALCON VISION, LLC, and ALCON               )
  INC.,                                           )
                                                  )
                  Defendants.                     )


  STIPULATION REGARDING PRESENTATION OF REMOTE WITNESS TESTIMONY

          WHEREAS, counsel for defendants Ivantis, Inc., Alcon Research LLC, Alcon Vision, LLC,

 and Alcon, Inc. (“Defendants”) raised at the pretrial conference that there may be a need to present

 remote testimony from a former employee, see Transcript of March 22, 2024 Pretrial Conference, at

 6:24-7:5;

          WHEREAS, the witness, Andy Schieber, has informed Defendants that he needs to testify

 remotely due to the circumstances discussed at the pretrial conference;

          NOW, THEREFORE, the parties hereby stipulate and agree, subject to the approval of the

 Court, that Mr. Schieber may testify remotely. The parties will coordinate with the Court’s courtroom

 deputy regarding the technical setup.
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  Dated: April 8, 2024


        SO ORDERED on this ____
                            9th day of ________________,
                                        April            2024.

                                      ___________________________________
                                      The Honorable Jennifer L. Hall
                                      United States District Court Judge




                                             2
